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 1
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 6   ATTORNEY FOR Defendant,
     JULIE DIANNE FARMER
 7

 8
                                      UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
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                                                     ******
11   UNITED STATES OF AMERICA,                               Case No.: 1:11-CR-00026-LJO
12
                       Plaintiff,
13                                                           STIPULATION, DECLARATION OF
              v.                                             ANTHONY P. CAPOZZI AND ORDER
14                                                           TO CONTINUE SURRENDER DATE
     JULIE DIANNE FARMER,
15
                       Defendant.
16

17            It is hereby stipulated between the United States Attorney by and through its counsel
18   Kirk E. Sherriff, the Defendant, Julie Dianne Farmer, by and through her counsel of record,
19   Anthony P. Capozzi that the surrender date of December 10, 2014, to the Federal Correctional
20   Institution at Dublin, California, be vacated and that a new surrender date of February 9, 2015,
21   by 2:00 p.m. be ordered.
22   IT IS SO STIPULATED.
23   ///
24   ///
25   ///
26   ///
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                                        STIPULATION TO CONTINUE SURRENDER DATE
                                              CASE NO.: 1:11-CR-00026 LJO
      Case 1:11-cr-00026-LJO Document 531 Filed 10/29/14 Page 2 of 2
 1                                 Respectfully submitted,

 2   DATED:       October 28, 2014      By: /s/Anthony P. Capozzi
                                            ANTHONY P. CAPOZZI
 3                                          Attorney for Defendant JULIE DIANNE FARMER
 4

 5

 6   DATED:       October 28, 2014      By: /s/Kick E. Sherriff
                                            KIRK E. SHERRIFF
 7                                          Assistant United States Attorney

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11                                             ORDER
12

13          The Court has received and reviewed convincing letters in support of a change in the
14   surrender date. Defendant’s surrender date of December 10, 2014, is vacated and a new
15   surrender date of February 9, 2015, no later than 2:00 p.m. is ordered.
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17   IT IS SO ORDERED.
18      Dated:     October 29, 2014                        /s/ Lawrence J. O’Neill
19                                                    UNITED STATES DISTRICT JUDGE

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                                 STIPULATION TO CONTINUE SURRENDER DATE
                                       CASE NO.: 1:11-CR-00026 LJO
